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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                                )
                                                  )
       Plaintiff,                                 )   Civil Action Case No. 4:17-cv-00480
                                                  )
v.                                                )
                                                  )
SUBSCRIBER 90160,                                 )
                                                  )
       Defendant.                                 )
                                                  )

             PLAINTIFF’S NOTICE OF SETTLEMENT AND VOLUNTARY
               DISMISSAL WITH PREJUDICE OF SUBSCRIBER 90160

       PLEASE TAKE NOTICE, Plaintiff has settled this matter with Subscriber 90160

(“Defendant”) through his counsel, Robert Cashman, Esq.              Pursuant to the settlement

agreement’s terms, Plaintiff hereby voluntarily dismisses Subscriber 90160 from this action with

prejudice. Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant Subscriber 90160 has neither

answered Plaintiff’s Complaint nor filed a motion for summary judgment.


       Consistent herewith Plaintiff consents to the Court having its case closed for
administrative purposes.

       Dated: October 26, 2017

                                                      Respectfully submitted,

                                                      LOWENBERG LAW FIRM, PLLC
                                            By:       /s/ Michael J. Lowenberg_____
                                                      MICHAEL J. LOWENBERG
                                                      Federal Bar No. 22584
                                                      Texas Bar No. 24001164
                                                      Email: Mike@thetexastriallawyers.com
                                                      ANDREW D. KUMAR
                                                      Federal Bar No. 1409965
                                                      Texas Bar No. 24075913
                                                      Email: Andrew@thetexastriallawyers.com
                                                      7941 Katy Freeway, Suite 306
                                                      Houston, Texas 77024
                                                      Telephone: (832) 241-6000

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                                                     Telecopier: (832) 241-6001



                                CERTIFICATE OF SERVICE
       I hereby certify that on October 26, 2017, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of

record and interested parties through this system.

                                              By: /s/ Michael J. Lowenberg
                                              MICHAEL J. LOWENBERG, ESQ.




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